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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 18-5309                                                September Term, 2019
                                                                     1:17-cv-01866-APM
                                                  Filed On: December 17, 2019 [1820613]
American Center for Law and Justice,

               Appellant

      v.

United States Department of Justice,
Federal Bureau of Investigation (FBI), a
component of Dept. of Justice (DOJ),

               Appellee

                                     MANDATE

      In accordance with the order of October 18, 2019, and pursuant to Federal Rule
of Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk




Link to the order filed October 18, 2019
